Case 6:18-cv-00359-CE|\/|-TBS Document 4 Filed 03/09/18 Page 1 of 3 Page|D 83

IN THE UNITED STATES DISTRICT COURT OF
THE MIDDLE DISTRICT OF FLORIDA
(ORLANDO DIVISION)

WESTGATE RESORTS, LTD., a Florida limited
partnership, by and through its general partner
WESTGATE RESORTS, INC., a Florida corporation,
WESTGATE VACATION VILLAS, LLC, a Florida
limited liability company, WESTGATE LAKES, LLC, a
Florida limited liability company, WESTGATE GV AT
THE WOODS, LLC, a Florida limited liability company,
WESTGATE TOWERS, LLC, a Florida limited liability
company, WESTGATE FLAMINGO BAY, L.L.C., a
Florida limited liability company, WESTGATE MYRTLE
BEACH, LLC, a Florida limited liability company,
WESTGATE PALACE, LLC, a Florida limited liability
company, WESTGATE VACATION VILLAS OWNERS
ASSOCLA.TION, INC., a Florida corporation,
WESTGATE LAKES OWNERS ASSOCIATION, INC.,
a Florida corporation, WESTGATE TOWERS OWNERS
ASSOCIATION, INC., a Florida corporation,
WESTGATE TOWN CEN'I`ER OWNERS
ASSOCIATION, INC., a Florida corporation,
WESTGATE TOWERS NORTH OWNERS
ASSOCLATION, lNC., a Florida corporation,
WESTGATE RIVER RANCH OWNERS
ASSOCIATION, INC., a Florida corporation,
WESTGATE PALACE OWNERS ASSOCIATION,
INC., a Florida corporation, WESTGATE FLAMINGO
BAY, LAS VEGAS OWNERS ASSOCIATION, INC., a
Nevada corporation, WESTGATE HISTORIC
WILLIAMSBURG, OWNERS ASSOCIATION, INC., a
Virginia corporation, WESTGATE PARK CITY
RESORT & SPA, OWNERS ASSOCIATION, INC., a
Utah corporation, WESTGATE MYRTLE BEACH
OCEAN FRON'I` OWNERS ASSOCMTION, INC., a
South Carolina corporation, CEDAR RIDGE AT THE
WOODS CONDOMINIUM OWNERS ASSOCIATION,
INC., a Missouri corporation, WESTGATE BRANSON
WOODS OWNERS ASSOCIATION, INC., a Missouri
corporation, GRAND VISTA AT EMERALD PO]NT
CONDOMINIUM OWNER’S ASSOCIATION, INC., a
Missouri corporation, PAINTED MOUNTAIN GOLF
VILLAS CONDOMINIUM ASSOCIATION, lNC., an

CASE NO.:

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Arizona corporation, WESTGATE GV AT EME`,RALD
POINTE, LLC, a Florida limited liability company,
WESTGATE GV AT PAINTED MOUNTAIN, LLC, a
Florida limited liability company, and WESTGATE LAS
VEGAS RESORT, LLC, a Delaware limited liability
company.

Plaintiffs,

VS.

U.S. CONSUMER ATTORNEYS, P.A., a Florida
professional corporation, HENRY N. PORTNER,
individually, and ROBERT A. SUSSMAN, individually,

Defendants.

SLMMQNS.IN.A_CIXE.ACU.QN

To: Robert A. Sussman
7065 W Ann Rd. Ste 130
Las Vegas, NV 89130-4990

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received
it) - or 60 days if you are the United States or a United States agency, or an officer or employee
of the United States described in Fed. R. Civ. P. 12 (a)(2) or (3) - you must serve on the plaintiff
an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil
Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose
name and address are: v

Richard W. Epstein, Esquire
Michael E. Marder, Esquire
Jeffrey Backman, Esquire
Greenspoon Marder

201 E. Pine Street, Suite 500
Orlando, FL 32801

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If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the court.

CLERK OF COURT

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